   Case 18-73816-FJS                    Doc 6       Filed 11/01/18 Entered 11/02/18 00:26:28                             Desc Imaged
                                                  Certificate of Notice Page 1 of 5
Information to identify the case:
Debtor 1              Kelly Francis Mandock                                             Social Security number or ITIN        xxx−xx−5640
                      First Name   Middle Name   Last Name                              EIN _ _−_ _ _ _ _ _ _
Debtor 2              Leanna Marie Mandock                                              Social Security number or ITIN        xxx−xx−3621
(Spouse, if filing)
                      First Name   Middle Name   Last Name                              EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Eastern District of Virginia
                                                                                        Date case filed for chapter 7 10/29/18
Case number:          18−73816−FJS


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                             About Debtor 1:                                        About Debtor 2:

1.     Debtor's full name                    Kelly Francis Mandock                                  Leanna Marie Mandock

2.     All other names used in the
       last 8 years

3.     Address                               5609 Earlton Ct.                                        5609 Earlton Ct.
                                             Virginia Beach, VA 23464                                Virginia Beach, VA 23464

4.     Debtor's attorney                     Kenneth A. Moreno                                      Contact phone (757) 486−1938
       Name and address                      Kenneth A. Moreno, PLLC                                Email: kamoreno@msn.com
                                             1553 S. Military Hwy., Suite 100
                                             Chesapeake, VA 23320

5.     Bankruptcy trustee                    Tom C. Smith, Jr.                                      Contact phone (757) 428−3481
       Name and address                      P.O. Box 1506                                          Email: trustee@tomcsmith.com
                                             Virginia Beach, VA 23451
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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                                                  Certificate of Notice Page 2 of 5
Debtor Kelly Francis Mandock and Leanna Marie Mandock                                                          Case number 18−73816−FJS


6. Bankruptcy clerk's office                     600 Granby St., Room 400                               For the Court:
                                                 Norfolk, VA 23510
    Documents in this case may be                                                        Clerk of the Bankruptcy Court:
    filed at this address. You may         Hours open Monday − Friday, 9:00 AM − 4:00 PM William C. Redden
    inspect all records filed in this case ET, except on holidays.
    at this office or online at                                                          Date: October 30, 2018
    www.pacer.gov.                         Contact phone 757−222−7500
    McVCIS 24−hour case
    information:
    Toll Free 1−866−222−8029

7. Meeting of creditors                          November 29, 2018 at 02:00 PM                          Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a         Office of the U.S. Trustee, 200
    questioned under oath. In a joint case,                                                             Granby Street, Room 120,
    both spouses must attend. Creditors may      later date. If so, the date will be on the court
    attend, but are not required to do so.       docket.                                                Norfolk, VA 23510


8. Presumption of abuse                          The presumption of abuse arises.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or           Filing deadline: January 28,
                                               to challenge whether certain debts are                   2019
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of
                                                   the subdivisions of 11 U.S.C. § 727(a)(2)
                                                   through (7),
                                                   or
                                                 • if you want to have a debt excepted from
                                                   dischargeunder 11 U.S.C § 523(a)(2),
                                                   (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be
                                                   denied under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                      Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property       conclusion of the meeting of
                                                 as exempt. If you believe that the law does not        creditors
                                                 authorize an exemption claimed, you may file an
                                                 objection.

10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.
                                                                                                               For more information, see page 3 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 2
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Debtor Kelly Francis Mandock and Leanna Marie Mandock                                                           Case number 18−73816−FJS


12. Exempt property                    The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                       sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                       may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe
                                       that the law does not authorize an exemption that the debtors claim, you may file an objection.
                                       The bankruptcy clerk's office must receive the objection by the deadline to object to
                                       exemptions in line 9.
13. Local Rule Dismissal               Case may be dismissed for failure to timely file lists, schedules and statements, or to attend
    Warning                            meeting of creditors. (Local Bankruptcy Rules 1007−1, 1007−3, and 2003−1.) Trustee may at
                                       the meeting give notice of intention to abandon property burdensome or of inconsequential
                                       value or intent to sell nonexempt property that has an aggregate gross value less than
                                       $2,500. Objections thereto must be filed pursuant to Local Bankruptcy Rules 6004−2 and
                                       6007−1.
14. Manner of Payment of Fees Newport News: non−debtor's check, money order, cashier's check or any authorized
                              non−debtor's credit card; cash is NOT accepted at Newport News location.
                              Norfolk: same as above; however, effective December 16, 2013, cash is accepted − ONLY in
                              the exact amount due for payment of fees and services.
Electronic bankruptcy notices are delivered faster than the U.S. Mail if you have a PC with Internet connection or a Fax machine.
For more information, go to bankruptcynotices.uscourts.gov or call, toll free: 877−837−3424. Case/docket information available
on Internet @ www.vaeb.uscourts.gov

ATTENTION DEBTORS: Receive your court notices and orders by email through the DeBN. Same−day delivery. Convenient
Access. Free. For more information and to download the request form, go to www.vaeb.uscourts.gov and select the Debtor
Electronic Bankruptcy Noticing link from the ATTENTION DEBTORS DeBN banner.
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                                      United States Bankruptcy Court
                                      Eastern District of Virginia
In re:                                                                                  Case No. 18-73816-FJS
Kelly Francis Mandock                                                                   Chapter 7
Leanna Marie Mandock
         Debtors
                                         CERTIFICATE OF NOTICE
District/off: 0422-8           User: paizl                  Page 1 of 2                   Date Rcvd: Oct 30, 2018
                               Form ID: 309A                Total Noticed: 30


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 01, 2018.
db/jdb         +Kelly Francis Mandock,    Leanna Marie Mandock,     5609 Earlton Ct.,
                 Virginia Beach, VA 23464-7116
14587702       +Acredale Animal Hospital,    1200 Lake James Dr,,     Virginia Beach, VA 23464-6773
14587708       +Citibank/The Home Depot,    Attn: Centralized Bankruptcy,     PO Box 790034,
                 St Louis, MO 63179-0034
14587713       +Keller Williams Real Estate,     33012 Coastal Hwy,    Bethany Beach, DE 19930-3777
14587717       +Mr. Cooper,    Attn: Bankruptcy,    8950 Cypress Waters Blvd,    Coppell, TX 75019-4620
14587720        Ortho Sport and Spine,    2725 Ivy Hill,    Buford, GA 30519-7922
14587721        PayPal Credit,    PO Box 71202,    Charlotte, NC 28272-1202
14587722        Resolve usa,    PO Box 920247,    Norcross, GA 30010-0247
14587723        Sears,   PO Box 78051,    Phoenix, AZ 85062-8051
14587724       +South Shore Bank,    Attn: Bankruptcy,    PO Box 151,    Weymouth, MA 02188-0904
14587727        Tidewater Utilities, Inc,    Customer Serv. Center,     1500 Ronson Rd.,   Iselin, NJ 08830-3049

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: kamoreno@msn.com Oct 31 2018 03:16:12       Kenneth A. Moreno,
                 Kenneth A. Moreno, PLLC,    1553 S. Military Hwy., Suite 100,     Chesapeake, VA 23320
tr             +EDI: QTCSMITH.COM Oct 31 2018 07:08:00       Tom C. Smith, Jr.,    P.O. Box 1506,
                 Virginia Beach, VA 23451-9506
14587703       +EDI: PHINAMERI.COM Oct 31 2018 07:08:00       AmeriCredit/GM Financial,    Attn: Bankruptcy,
                 PO Box 183853,    Arlington, TX 76096-3853
14587704       +EDI: AMEREXPR.COM Oct 31 2018 07:08:00       Amex,   Correspondence/Bankruptcy,     PO Box 981540,
                 El Paso, TX 79998-1540
14587705        EDI: BANKAMER.COM Oct 31 2018 07:08:00       Bank Of America,    Attn: Bankruptcy,    PO Box 982238,
                 El Paso, TX 79998-0000
14587706       +EDI: CAPITALONE.COM Oct 31 2018 07:08:00       Capital One,    Attn: Bankruptcy,    PO Box 30285,
                 Salt Lake City, UT 84130-0285
14587707       +EDI: CITICORP.COM Oct 31 2018 07:08:00       Citibank/Sears,    Attn: Bankruptcy,    PO Box 6275,
                 Sioux Falls, SD 57117-6275
14587709       +EDI: CRFRSTNA.COM Oct 31 2018 07:08:00       Credit First National Assoc,    Attn: Bankruptcy,
                 PO Box 81315,   Cleveland, OH 44181-0315
14587710        EDI: CRFRSTNA.COM Oct 31 2018 07:08:00       Credit First/Firestone,    PO Box 81344,
                 Cleveland, OH 44188-0344
14587711       +EDI: DISCOVER.COM Oct 31 2018 07:08:00       Discover Financial,    PO Box 3025,
                 New Albany, OH 43054-3025
14587712        EDI: IRS.COM Oct 31 2018 07:08:00      IRS,    Special Procedures,    PO Box 10025,
                 Richmond, VA 23240-0025
14587714       +E-mail/Text: pslater@langleyfcu.org Oct 31 2018 03:17:33        Langley Fed Credit Uni,
                 721 Lakefront Commons,    Newport News, VA 23606-3324
14587715       +E-mail/Text: pslater@langleyfcu.org Oct 31 2018 03:17:33        Langley Federal Credit Union,
                 Attn: Bankruptcy,    721 Lakefront Commons,    Newport News, VA 23606-3324
14587716       +EDI: MERRICKBANK.COM Oct 31 2018 07:08:00       Merrick Bank/CardWorks,    Attn: Bankruptcy,
                 PO Box 9201,   Old Bethpage, NY 11804-9001
14587718       +EDI: NFCU.COM Oct 31 2018 07:08:00      Navy FCU,    Attn: Bankruptcy,    PO Box 3000,
                 Merrifield, VA 22119-3000
14587719       +EDI: NFCU.COM Oct 31 2018 07:08:00      Navy Federal Credit Union,     Attn: Bankruptcy,
                 PO Box 3000,   Merrifield, VA 22119-3000
14587725       +EDI: RMSC.COM Oct 31 2018 07:08:00      Synchrony Bank/Amazon,     PO Box 965015,
                 Orlando, FL 32896-5015
14587726       +EDI: RMSC.COM Oct 31 2018 07:08:00      Synchrony Bank/Walmart,     Attn: Bankruptcy Dept,
                 PO Box 965060,    Orlando, FL 32896-5060
14587728        EDI: WFFC.COM Oct 31 2018 07:08:00      Wells Fargo Bank,     Attn: Bankruptcy Dept,    PO Box 6429,
                 Greenville, SC 29606-0000
                                                                                               TOTAL: 19

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                          TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.
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                                      Form ID: 309A                      Total Noticed: 30


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 01, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 30, 2018 at the address(es) listed below:
              John P. Fitzgerald, III   ustpregion04.no.ecf@usdoj.gov
              Kenneth A. Moreno   on behalf of Joint Debtor Leanna Marie Mandock kamoreno@msn.com
              Kenneth A. Moreno   on behalf of Debtor Kelly Francis Mandock kamoreno@msn.com
              Tom C. Smith, Jr.   trustee@tomcsmith.com, tcsmith@ecf.epiqsystems.com
                                                                                             TOTAL: 4
